                                                                         Filed: 3/7/2019 3:42 PM
Case 1:19-cv-01957-TWP-MJD 49D04-1903-CT-009549
                           Document 1-2 Filed 05/16/19 Page 1 of 18 PageID   #: 8           Clerk
                              Marion Superior Court, Civil Division 4            Marion County, Indiana
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 2 of 18 PageID #: 9
                                                                         Filed: 3/8/2019 12:07 PM
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 3 of 18 PageID   #: 10           Clerk
                                                                                                               Marion County, Indiana




  STATE OF INDIANA                   )                             IN THE MARION SUPERIOR COURT
                                     )   SS:                       CIVIL DIVISION, ROOM NO.
  COUNTY OF MARION                   )                             CAUSE NO.: 49D04-1 903 -CT—009549

  TAMMY HURT,
           Plaintiff,


                                                       vvvvvvvv




           VS.
  THE KROGER CO.,

           Defendant.


                 COMPLAINT FOR DAMAGES AND REQUEST FOR JURY TRIAL

           Comes now the Plaintiff, TAMMY HURT, by counsel, Marcia J.                    Cossell,   and for a cause of

  action against the Defendant      The Kroger   Co., alleges and states:


      1.   Plaintiff,   TAMMY HURT, (hereinafter “Plaintiff’), at all times relevant and material to this
           action, resided in Indianapolis,    Marion County,        State of Indiana.


           Defendant, The Kroger Co., (hereinafter “Defendant”),            at all   times relevant and material to


           this action,    was a   foreign for-proﬁt corporation maintaining a registered agent and


           conducting business for the purpose of selling food and household items in the City of


           Indianapolis,    Marion County, State 0f Indiana.

           Upon   information and belief, at     all   times relevant and material to this action, Defendant


           owned and/or operated the property located at 591 1 Madison Avenue, Indianapolis, Marion

           County, State of Indiana, 46227 (hereinafter “Premises”).


           On July 24,     2017, at approximately 6:06 p.m., Plaintiff was present as a guest or invitee            at



           Defendant’s location of 5911 Madison Avenue, Indianapolis, Marion County, State of


           Indiana, 46227.


           At the time and place above,          Plaintiff        was walking toward      the produce section of
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 4 of 18 PageID #: 11




           Defendant’s premises.


    6.     While   Plaintiff was walking, she slipped        on ﬁ'uit that had fallen onto the ﬂoor and had split

           open which caused the          Plaintiff to fall with her   shopping cart   fell   on top of her all ofwhich

           caused signiﬁcant injury to         Plaintiff.



     7.    Defendant knew or should have known of the risk of danger of the slippery ﬂoor to the


           Plaintiff but failed to take proper precautions to guard its invitees against injury               ﬁom the

           risk.



     8.    At said place and time, the Defendant breached the applicable duty of care and was careless

           and negligent in one or more of the following ways:

           a.       Defendant maintained the Premises in an inherently dangerous condition;


           b.       Defendant failed t0 train and supervise the employee or agent properly Which allowed


                the injury to Plaintiﬂ‘ to occur;


           c.       Defendant failed to clean the area or place a “caution” sign or a “wet ﬂoor sign”


                which allowed the injury t0 the         Plaintiff to occur.


           d.       Defendant failed t0 create and exercise proper, safe procedures for cleaning spilled


                products while guests and/or invitees are present;


           e.       Defendant failed to warn Plaintiff and others 0f the danger                at the Premises;



           f.       Defendant was otherwise careless or negligent which caused the injury involving


                Plaintiff.



     9.    As   a result 0f the   fall,   Plaintiﬂ' sustained serious injuries   and was required to engage in the


           medical care and treatment of doctors, hospitals, nursing homes, therapists and x—ray


           technicians, thereby incurring medical expenses.


     10.   As a result of the fall,       Plaintiﬂ‘ sustained serious injuries   and as a result 0f the    fall Plaintiff
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 5 of 18 PageID #: 12




            was required to remain off work causing Plaintiff to           incur signiﬁcant   wage   loss.



      11.   Due     to the negligence   and carelessness of the Defendant, as aforesaid,        Plaintiff has   been


            damaged.

            WHEREFORE, Plaintiff, by Counsel, hereby respectfully requests that the Court enter an

  Order ofjudgment for the Plaintiff and against Defendant, award monetary damages in an amount

  commensurate with her damages, costs of this action, prejudgment interest, post—judgment                   interest



  and for    all   other reliefjust and proper in the premises.


                                                             Respectfully submitted,


                                                                  '


                                                                      -1
                                                                                                ‘.
                                                                                                     4



                                                             7)zmm%m/
                                                             Marcia J. Cassie ,Esq., (16012-29)
                                                              Attorney for P aintiff




  Marcia     J.   Cossell, Esq.
  Attorney No. 16012-29
  LEE COSSELL & CROWLEY, LLP
  151 N. Delaware Street, Suite 1500
              IN 46204
  Indianapolis,
  (317) 631-5151 Phone
  (3 1 7)   682-6477 Facsimile
  mcossell@nleelaw.com
 Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 6 of 18 PageIDFiled:
                            49D04-1903-CT-009549                                  3/7/2019 3:42 PM
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                                                       SUMMONS
                                              Marion Superior Court, Civil Division 4                              Marion County, Indiana

STATE 0F INDIANA                                         )                    IN THE MARION SUPERIOR COURT
                                                         )   SS:              CIVIL DIVISION, ROOM NO:
COUNTY OF MARION                                         )                    CAUSE NO:

TAMMY HURT,                                              )

                                                         )
         Plaintiff,                                      )

                                                         )
v.                                                       )

                                                         )
THE KROGER CO.,                                          )

                                                         )
         Defendant.                                      )


TO DEFENDANT:                (Name)            THE KROGER CO
                                               c/o Corporation Service        Company
                             (Address)         135 North Pennsylvania Street, Suite 1610
                                               Indianapolis,       IN 46204
         You are hereby notiﬁed that you have been                 sued by the person named as plaintiff and in the Court
indicated above.
         The   nature of the suit against    you is stated in the complaint which is attached to       this   Summons.   It

also states the relief    sought or the   demand made against you by the plaintiff.
         An answer or other appropriate response                 complaint must be ﬁled either by you 0r
                                                             in writing to the
your attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-
three (23) days if this Summons was received by mail), or a judgment by default may be rendered against
you   for the relief demanded     by plaintiff.
         If you   have a claim for relief against the        plaintiff arising   from the same transaction or occurrence,
you must        it in your written answer.
             assert
              need the name of an attorney, you may contact the Indianapolis Bar Association Lawyer
         If you
Referral Service (269-2222), or the Marion County Bar Association Lawyer Referral Service (634-3950)


Dated   3/8/2019                     Lfi’lﬁﬂv    CL.   £££££qu
                                                                g'

                                     Clem, Marion County Supeﬁor Court
         (The following manner of service of summons is hereby designated.)
         X            Registered or certiﬁed mail.


                      Service at place of employment, to-Wit:


                      Service on individual   --   (Personal or copy) at above address.


                      Service on agent. (Specify) Certiﬁed Mail to registered agent.


                      Other service. (Specify)

Marcia J._Cossell, Esq., (16012—29)
Attorney for Plaintiff
LEE COSSELL & CROWLEY, LLP
151 N. Delaware Street, Suite 1500
Indianapolis,     1N 46204
(317) 631-5151 Phone
(3 1 7) 682-6477 Facsimile
mcossell@nleelaw.com
 Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 7 of 18 PageID #: 14
STATE OF INDIANA                 )     IN THE MARION SUPERIOR COURT
                                                      )   SS:   CIVIL DIVISION,          ROOM NO:
COUNTY OF MARION                                      )         CAUSE NO:

TAMMY HURT,                                           )

                                                      )

            Plaintiff,                                )

                                                      )
v.                                                    )

                                                      )
THE KROGER CO.,                                       )

                                                      )
            Defendant.                                )




                          SHERIFF’S RETURN                 ON SERVICE OF SWONS
 I   hereby certify that   I   have served this summons on the                   day of                                ,   20

 (1)   By delivering a copy of the Summons and a copy of the           complaint to the defendant,

 (2)   By   leaving a copy of the    Summons and a copy of the complaint at
which is the dwelling place or usual place of abode of
and by mailing a copy 0f said summons to said defendant            at the   above address.

 (3)   Other Service or Remarks:

Sheriff’ s Costs                                                ShElrﬂ‘

                                                                By:
                                                                          Deputy

                                    CLERK’S CERTIFICATE 0F MAILING
         hereby certify that on the
            I                                 day of                                 ,   20            ,
                                                                                                           I   mailed a copy ofthis
Summons and    a copy of the complamt to tha defendant,                                       ,   by
mail, requesting a return receipt, at the address furnished by the plamtﬁf.



                                                                CHE,                                                 Court

Dated:                                                          By:
                                                                          Deputy

                            RETURN ON SERVICE OF SUMMONS BY MAIL
            I   hereby certify that the attached return receipt was received by me showinf that the Summons and a
copy oﬁthe cpmplaint mailed           to defendant                            was accepte by the defendant 0n the
       a 0                               ,        .


        [Kel‘eby certify that the attached return receipt was received by me showing that the                       Summons and       a
copy of'the complaint was returned not accepted cm the                 day 0f                                               ,         .


        I hereby certify that the attached return receipt was recelvecl by me showing that the                      Summons and a
copy of the com laint mailed to defendant                                   was accepted by
0n behalfof sai defendant on the                 day of                     , 20                   .




                                                                Clerk,                                               Court

                                                                By:
                                                                          Deputy
                                                                         Filed: 3/1 8/2019 4:29 PM
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 8 of 18 PageID   #: 15            Clerk
                                                                                                                                    Marion County, Indiana




                                  IN   THE MARION SUPERIOR COURT NO. 4
 TAMMY HURT,                                                  )

                                                              )

              Plaintiff,                                      )           CAUSE NO.             49D04- 1 903-CT-009549
                                                             )

              V.                                             )

                                                              )

 THE KROGER C0.,                                              )

                                                              )

              Defendant.                                      )



                                            APPEARANCE FORM

 Party Classiﬁcation:             Initiating    D     Responding        E      Intervening      D
  1.   The undersigned attorney and            all   attorneys listed      0n    this   form now appear            in this case for the

       following party member(s): Defendants Kroger Limited Partnership                                  I   (incorrectly      named   as
       “The Kroger C0.”        in Plaintiff s   Complaint for Damages and Request                    for Jury Trial”)


   .   Applicable attorney information for service as required by Trial Rule 5(B)(2) and for case
       information as required by Trial Rules 3.1 and 77(B)                      is   as follows:



              Name:        Donald B.   Kite, Sr., #1 1601-41                            Phone: 3 17.697.5046
              Address:     ATTORNEY AT LAW                                              Fax:
                           8082 Stafford Lane                                           Email: don.kite@gmail.com
                           Indianapolis,   IN 46260


   .   There are other party members: Yes                   No        X        (Ifyes, list    0n continuation page.)


   .   Ifﬁrst initiating parlyﬁling         this case, the        Clerk   is   requested to assign this case the following
       Case Type under Administrative Rule                8(b)(3):


   .   I   Will accept service   by   FAX at the above noted number:                   Yes          No       X

   .   This case involves support issues: Yes                      No     X

   .   There are related cases: Yes                  N0           X            (Ifyes, list    0n continuation page.)


   .   This form has been served on         all   other parties and Certiﬁcate 0f Service                    is   attached:   Yes   X No
  D
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 9 of 18 PageID #: 16




                                                          Respectfully submitted,


                                                          /s/   Donald B.   Kite, Sr.
                                                          Donald B.    Kite, Sr., #1 160 1 -41
                                                          Attorney for Defendants Kroger
                                                          Limited Partnership      I




                                         CERTIFICATE OF SERVICE

          I    certify that   0n March   18, 2019,   I   electronically ﬁled the foregoing       document using the

 Indiana E-Filing System (IEFS).           I   also certify that   0n March     18,    2019, the foregoing document


 was served upon       the following persons      by IEFS:

 Marcia   J.   Cossell, Esq.
 LEE COSSELL        & CROWLEY, LLP.
 151 N. Delaware Street, Suite 1500
 Indianapolis,     IN 46204



                                                          /s/   Donald B.   Kite, Sr.




 ATTORNEY AT LAW
 8082 Stafford Lane
 Indianapolis,     IN 46260
                                                                         Filed: 3/1 8/2019 4:38 PM
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 10 of 18 PageID   #: 17           Clerk
                                                                                                                     Marion County, Indiana




                                  IN   THE MARION SUPERIOR COURT NO. 4
  TAMMY HURT,                                                 )

                                                              )

            Plaintiff,                                        )        CAUSE NO.       49D04- 1 903-CT-009549
                                                              )

           v.                                                 )

                                                              )

  THE KROGER C0.,                                             )

                                                              )

            Defendant.                                        )



                          DEFENDANT KROGER LIMITED PARTNERSHIP I’S
                          REQUEST FOR PRODUCTION TO THE PLAINTIFF

           Defendant Kroger Limited Partnership                   I   (incorrectly   named     as   "The Kroger Co." in


  Plaintiffs     Complaint for Damages and Request for Jury               Trial),   by counsel and pursuant t0 Indiana

  Trial   Rule 34, propounds the following Request for Production to the                  Plaintiff, to   be responded    to


  Within thirty (3 0) days from the date of service.


            1.       Income tax        returns   and   W-2   forms for the ﬁve (5) years immediately preceding the


  occurrence Which        is   the subj ect 0f this lawsuit.


            2.       Income tax        returns and     W-2    forms since the date of the occurrence Which          is   the


  subj ect 0f this lawsuit.


            3.       A11 written reports and records of physical and mental condition or treatment                   made

  by any medical         practitioner or health care provider, at          any time, concerning treatment provided

  following the events described in the Plaintiff s Complaint for Damages and Request for Jury Trial


  as well as     Which    relate to the Plaintiffs alleged injuries        and damages and the conditi0n(s) and/or

  injuries described in Plaintiff‘s         Complaint for Damages and Request for Jury Trial (inclusive 0f

  records relating to      all   prescriptions).


            4.       A11 statements, bills and billing or payment records for medical services rendered


  which    are alleged to have       been necessitated by the occurrence which            is   the subj ect of this lawsuit


  (inclusive 0f write-offs, adjustments            and payments).
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 11 of 18 PageID #: 18



         5.      A11 statements, bills and billing or payment records for medication which                       it    is



  alleged were necessitated      by the    condition(s) and/or injuries described in Plaintiff” s Complaint for


  Damages and Request         for Jury Trial (inclusive of write-offs, adjustments       and payments).

         6.      A11    statements         made by      the   Defendant     Kroger      Limited    Partnership        I's




  representatives, said representatives'        employees or   their agents.


         7.      A11 written reports ofphysical or mental condition            made by any medical practitioner

  or health care provider concerning any condition 0r injury prior to the condition or injuries


  complained 0f in the Plaintiff s Complaint for Damages and Request for Jury                Trial.


         8.      A11 photographs 0r Videotapes of the area involved in the alleged occurrence,                        all



  photographs or Videotapes of the injuries referred t0 in the          Plaintiff‘s   Complaint for Damages and

  Request for Jury   Trial,   and   all   other photographs 0r Videotapes Which       you intend   t0 use at trial.


         9.      A11 documents referred t0 0r relied          upon by the Plaintiff in responding to Defendant

  Kroger Limited Partnership        I's   Interrogatories.


          10.    The shoes or footwear           Plaintiff   Tammy   Hurt was wearing 0n the date and          at the


  time of the alleged occurrence.


                                                        Respectfully submitted,


                                                        /s/Donald B. Kite,     Sr.

                                                        Donald B.    Kite, Sr., #1 1601-41
                                                        Attorney for Defendant
                                                        Kroger Limited Partnership       I
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 12 of 18 PageID #: 19



                                             CERTIFICATE OF SERVICE

            I   hereby certify that   I   served a copy of the foregoing upon the following person/counsel 0f


  record,   by placing    the    same     in the   United States Mail, postage prepaid,   this 18th   day of March,

  2019:


  Marcia    J.   Cossell, Esq.
  LEE COSSELL        & CROWLEY, LLP.
  151 N. Delaware Street, Suite 1500
  Indianapolis,      IN 46204


                                                                          /s/Dona1d B. Kite,   Sr.




  ATTORNEY AT LAW
  8082 Stafford Lane
  Indianapolis,      IN 46260
9-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 13 of 18 Pag
 I Complete items 1, 2. and 3.                                      A   Signature

 I Print your name and address on the raverse                                                                   U Agent
   so that we can return the card to you.
 I Attach this card to the back of the mallplece.                                                    ”ﬂ        DateofDellven
      or on the front   if   space permits.                                                                       I; (9
 1.   Article   Addressed   to:



      The Kroger Co
      c/o Corporation Service           Company
      135   N Pennsylvania Ste           I610
      Indianapolis,IN46204
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   United States?                              ptint

   Postal Service
                                        Marion County Clerk
                                        200 E Washington Ste                   W122
                                        Indianapolis IN 46204




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Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 15 of 18 PageID   #: 22          Clerk
                                                                                                                      Marion County, Indiana




                                  IN   THE MARION SUPERIOR COURT NO. 4
  TAMMY HURT,                                        )

                                                     )

           Plaintiff,                                )         CAUSE NO.               49D04-1903-CT-009549
                                                     )

           v.                                        )

                                                     )

  THE KROGER CO.,                                    )

                                                     )

           Defendant.                                )



                     DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
                       FOR DAMAGES AND REQUEST FOR JURY TRIAL

           Defendant Kroger Limited Partnership          I    (incorrectly         named      as    “The Kroger C0.”       in


  Plaintiff’s    Complaint for Damages and Request for Jury               Trial”),      by   counsel, for   its   Answer   t0


  Plaintiff’ s   Complaint for Damages and Request for Jury          Trial, states:


           1.             Defendant Kroger Limited Partnership        I    is     Without sufﬁcient knowledge 0r


  information t0 form a belief as t0 the truth 0f the allegations which are contained in rhetorical


  paragraph      1   of Plaintiff s Complaint for Damages and Request for Jury                Trial.


           2.             Defendant Kroger Limited Partnership        I    is     Without sufﬁcient knowledge 0r


  information t0 form a belief as t0 the truth 0f the allegation that Kroger                  is   a “foreign” corporation


  but admits the truth of the remaining allegations contained in rhetorical paragraph 2 of Plaintiff s


  Complaint for Damages and Request for Jury Trial With respect                         t0   Defendant Kroger Limited

  Partnership        I.




           3.             While Defendant Kroger Limited Partnership            I is   without sufﬁcient knowledge or


  information t0 form a belief as t0 the truth of What         is   known        to Plaintiff or her counsel “[u]pon


  information and belieﬂ,]” Defendant admits that        it   owned       and/or operated the property located at


  5911 Madison Avenue, Indianapolis, Marion County State of Indiana, 46227 (hereinafter

  “Premises”).
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 16 of 18 PageID #: 23



           4.     Defendant Kroger Limited Partnership I is without sufficient knowledge or

  information to form a belief as to the truth of the allegation that the Plaintiff was “a guest or invitee”

  but admits the truth of the remaining allegations which are contained in rhetorical paragraph 4 of

  Plaintiff’s Complaint for Damages and Request for Jury Trial.

           5.     Defendant Kroger Limited Partnership I is without sufficient knowledge or

  information to form a belief as to the truth of the allegations which are contained in rhetorical

  paragraph 5 of Plaintiff’s Complaint for Damages and Request for Jury Trial.

           6.     Defendant Kroger Limited Partnership I admits that the Plaintiff was present at the

  store and that she reported falling but is without sufficient knowledge or information to form a

  belief as to the truth of the remaining allegations which are contained in rhetorical paragraph 6 of

  Plaintiff’s Complaint for Damages and Request for Jury Trial.

           7.     Defendant Kroger Limited Partnership I denies the truth of the allegations which

  are contained in rhetorical paragraph 7 of Plaintiff’s Complaint for Damages and Request for Jury

  Trial.

           8.     Defendant Kroger Limited Partnership I denies the truth of the allegations which

  are contained in rhetorical paragraph 8 of Plaintiff’s Complaint for Damages and Request for Jury

  Trial.

           9.     Defendant Kroger Limited Partnership I is without sufficient knowledge or

  information to form a belief as to the truth of the allegations which are contained in rhetorical

  paragraph 9 of Plaintiff’s Complaint for Damages and Request for Jury Trial.

           10.    Defendant Kroger Limited Partnership I is without sufficient knowledge or

  information to form a belief as to the truth of the allegations which are contained in rhetorical

  paragraph 10 of Plaintiff’s Complaint for Damages and Request for Jury Trial.



                                                      2
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 17 of 18 PageID #: 24



               11.      Defendant Kroger Limited Partnership                      I   denies the truth 0f the allegations which


  are contained in rhetorical paragraph            1 1   0f Plaintiff’ s Complaint for Damages and Request for Jury


  Trial.


                                                AFFIRMATIVE DEFENSES

                Subject t0 further discovery. Defendant Kroger Limited Partnership                                       I   asserts   the


  following afﬁrmative defenses:


               1.       The   Plaintiff’ s    damages,       if any,    should be barred 0r reduced as a result of Plaintiff


  Tammy Hurt’s           comparative     fault.



              2.        To   the extent that the Plaintiff receives or has received                     payments        for her alleged


  injuries     and damages, any such payments constitute                      satisfaction        and must be set-off against any

  recoveries         made   in this litigation against        Defendant Kroger Limited Partnership                 I.




               3.       The   Plaintiff has failed to mitigate her            damages.


              4.        The    Plaintiff’ s   damages,        if any,     should be barred or reduced With respect to


  Defendant Kroger Limited Partnership                   I   inasmuch as said damages are              attributable, in      Whole 0r    in


  part, t0 the       negligence of a non-party whose identity                is   presently unknown.


              WHEREFORE,            Defendant Kroger Limited Partnership                      I   prays for judgment in        its   favor,


  for   its   costs incurred in defending this action,             and for    all      other appropriate relief.


                                                                  Respectfully submitted,


                                                                  /s/   Donald B.        Kite, Sr.
                                                                  Donald B.           Kite, Sr., #1 1601-41
                                                                  Attorney for Defendant
                                                                  Kroger Limited Partnership             I
Case 1:19-cv-01957-TWP-MJD Document 1-2 Filed 05/16/19 Page 18 of 18 PageID #: 25



                                         CERTIFICATE OF SERVICE

           I    certify that   on March 27, 2019,    I   electronically ﬁled the foregoing   document using the

  Indiana E-Filing System (IEFS).          I   also certify that   0n March 27, 2019, the foregoing document

  was served upon       the following persons     by IEFS:

  Marcia   J.   Cossell, Esq.
  LEE COSSELL        & CROWLEY, LLP.
  151 N. Delaware Street, Suite 1500
  Indianapolis,     IN 46204



                                                          /s/   Donald B.   Kite, Sr.




  ATTORNEY AT LAW
  8082 Stafford Lane
  Indianapolis,     IN 46260
